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 4   Telephone: (916) 554-2700
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 7
 8                              IN THE UNITED STATES DISTRICT COURT
 9                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                        )    CASE NO. 2:04-cr-00357-MCE, and
                                                       )             2:07-cr-00105-MCE
12              Plaintiff,                             )
                                                       )    STIPULATION AND ORDER
13    v.                                               )    CONTINUING SENTENCING DATE
                                                       )
14    RICHIE MISHAL,                                   )
                                                       )
15              Defendant.                             )
                                                       )
16                                                     )
17
18          It is hereby stipulated and agreed that the sentencing of the above named defendant be
19   continued from April 30, 2009, to October 15, 2009, at 9:00 a.m. The reason for the request is to allow
20   the defendant to complete the terms of his plea agreement.
21
22                                        LAWRENCE G. BROWN
                                          Acting United States Attorney
23
24   Date: April 28, 2009                 /s/ Richard J. Bender
                                          RICHARD J. BENDER
25                                        Assistant United States Attorney
26   ///
27   ///
28   ///

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 1   Date: April 28, 2009          /s/ Richard J. Bender for
                                   HAYES H. GABLE, III
 2                                 Attorney for Defendant
 3
 4          IT IS SO ORDERED.
 5
      Dated: April 29, 2009
 6
                                             ________________________________
 7                                           MORRISON C. ENGLAND, JR.
 8                                           UNITED STATES DISTRICT JUDGE

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